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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 HENRY SEELIGSON, JOHN M.                          §
 SEELIGSON, SUZANNE SEELIGSON                      §
 NASH, and SHERRI PILCHER, individually            §
 and on behalf of all others similarly situated,   § Case No. 3:16-cv-00082-K
                                                   §
        Plaintiffs,                                §
                                                   §
 v.                                                §
                                                   §
 DEVON ENERGY PRODUCTION                           §
 COMPANY, L.P.,                                    §
                                                   §
        Defendant.                                 §


                                JOINT MEDIATION REPORT

       Class counsel, on behalf of named plaintiffs Henry Seeligson, John M. Seeligson, Suzanne

Seeligson Nash, and Sherri Pilcher and the Certified Class (collectively “Plaintiffs”), and

Defendant Devon Energy Production Company, L.P. (“Defendant” or “DEPCO”) (together, the

“Parties”) submit this Joint Mediation Report in accordance with the Court’s Scheduling Order

dated June 12, 2020 [Doc. 226] and provide notice to the Court that Plaintiffs and DEPCO have

reached an agreement in principle to resolve this matter in its entirety and on a classwide basis.

       The Parties are currently finalizing the terms of the settlement and request additional time

to prepare final settlement documentation and submit a motion for preliminary approval of the

proposed class action settlement. Plaintiffs intend to file their motion for preliminary approval by

December 16, 2020.
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Dated: October 16, 2020           Respectfully submitted,

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